 

 

Case: 1:18-Cv-03281 Document #: 1 Filed: 05/08/18 Page 1 of 19 Page|D #:1 qj/€<

IN THE UNITED sTATEs DISTRICT CoURT
FoR THE NoRTHERN DISTRICT oF ILLINols MAY ~8 2013
EASTERN DISTRICT THQMAS G

cLERK, u s. D/S'TR,'§§’§€{J\!RT
Daniel McDuffie,
Plaintiff,
v JZ;;£"`03281
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agisrr§;'a"es R~ No
City of Chicago’s e Judge J rgle, Sr
Department of Administrative Hearings, em’ey T_ G”b
Defendants, erl

COMPLAINT AT LAW SOUNDING IN
TITLE 42 UNITED STATES C()DE, SECTION 1983
AND COMMON LAW TORT OF CONVERSION

NOW COMES the Plaintiff Daniel McDuffie, pro se litigant, and
hereby complains of the behavior of Defendant City of Chicago’s
Department of Administrative Hearing [hereafter, DOAH] in that said
Defendant has continually declined to provide him with the release slip
necessary to effect the release of his automobile, a Mustang 2006, from
police impoundment.

McDuff`le has visited 400 West Superior, Chicago, Illinois, DOAH’s
principal location, on numerous occasions in an effort to obtain the
release slip required to affect the release of his vehicle from police
impoundment. Notwithstanding McDuffle’s adherence to obtaining and
presenting the documentation DOAH states it requires to issue the
release slip, DOAH has since March 3, 2018, declined to issue the
necessary release slip, [See attached documentation required by DGAH]

On April 25"', 2018, McDuffle faxed to DOAH a demand letter
requesting the release of his vehicle. [See attached Demand Letter]

 

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To date, DOAH has continually refused to release said vehicle citing
that McDuff`le has failed to present the required documentation even
though he has presented the required documentation.

[See attached DOAH required documentation/

CAUSES OF ACTION, AMOUNT IN CONTROVERSY AND
JURISDICTIONAL STATEMENT

McDuffle’s causes of action sounds in 42 United States Code, Section
1983, and the Common Law Tort of Conversion. The District Court has
jurisdiction over claims sounding in 42 United States Code, Section
1983; and federal question [Title 28 United States Code 1331] regarding,
in this instance, an issue concerning the effect and scope of the 4th
Amendment’s prohibition against unreasonable seizures perpetrated by
a local governmental entity, the City of Chicago; and can hear state
causes of action pursuant to the District Court’s Supplemental
Jurisdiction under Title 28 United States Code Section 1367. McDuffie
seeks damages in the amount of $150,000.00 relative to the Section 1983
Claim and 3150,000.00 relative to the Tort of Conversion.

THE PAR TIES

PlaintiffDaniel McDuffie is located at 1139 West Vermont, Calumet
Park, Illinois 60827 and is a resident of the State of Illinois and Cook
County.

City of Chicago Corporation Counsel represents the Department of
Administrative Hearings 30 North LaSalle, Suite 700, Chicago, Illinois
60602.

STATEMENT OF FACTS

[I] On March 3, 2018, McDujj‘ie was driving his 2006 Mustang in the
vicinity of 11338 South Wentworth Street, Chicago. McDuf/ie was pulled
over by the Chicago Police for not having his headlights on. After pulling
him over, the police ran a check on the temporary tag and presumptively
alleged that the tag was not assigned to the Mustang.

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[2] Pursuant to the City of Chicago Municipal Code Section 9-80-220

 

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Altered Temp Tag, the police towed McDuffie’s vehicle to the police pound
# 2 at 1 03 01 South Doty Avenue, Chicago, Illinois, Inventory number
2845 0 70 [773/568/8495] . Vehicle Identification IZVFT80N665154281

[3] McDuHie filed a Request for Hearing pursuant to Section 2-1 4-
I32(J) of the Municipal Code of Chicago to contest the impoundment of
the aforementioned vehicle.

[4] On April 5"', 2018, the City of Chicago moved to non-suit, no
storage or tow fees and no sanctions. [See attached Findings,Decisions &
Order dated April 5”', 2018]

[5] McDuffie presented the written administrative decision to a section
at the DOAH location at 400 West Superior that issues the “receipt to
redeem ” required to affect the release of his impounded vehicle.

[6] T he DOAH agent refused to issue the “receipt to redeem ”
notwithstanding the written decision of the administrative hearing ojficer
and advised McDuffie that he needed to provide them with 2 Affidavits,
that is, obtain an affidavit from the previous owner and submit McDujj‘ie
own affidavit

[7/ McDuffie obtained the requested ajfidavits and presented them to
the DOAH agent at 400 West Superior. After examining the aforesaid
affidavits, the agent told him that he believed that the affidavits were false
or fraudulent; and required him to obtain dijferent affidavits that are
legitimate. [See attached Affidavits]

[8] Moreover, the agent required McDuj§‘ie to obtain Title Information
and History of the vehicle. McDuffie obtained the requested
documentation and returned to 400 West Superior and presented the
requested documentation to the DOAH agent. Again the agent was not
satisfied with the documentation and declined to issue the “receipt to
redeem ”McDuffie’s vehicle. [See attached Title Information and History
documentation and an official letter from the Ojfice of the Secretary of
State]

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/9] McDuffie has attached the following documents in support his

 

 

 

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cause(s) of action:

Certificate of Title of Vehicle

Owner Notification of Impoundment of Vehicle
Request for Hearing

Fax Transmittal Sheet

McDuffie’s Hand Written Letter to Secretary of State
Secretaiy of S tate Information Request Form

[10] McDujfie argues that it is the policy and practice of the City of
Chicago via its subsidiary the Department of Administrative of Hearings
to circumvent the release of citizens ’ impounded vehicle by requiring
documentation that is difficult to impossible to obtain; then when the
citizen brings the requested documentation, DUAH representative
unilaterally decides that the presented documentation is false, invalid, or
otherwise and then require that the citizen bring additional or other
arguably irrelevant documentation; and then exploiting the timeline it
took for an affected citizen to obtain the requested documentation to run
up a high storage bill.

[ll] McDuffie has been to the DOAH at least 7 times in an effort to
obtain the “receipt to redeem, ” so he can obtain his vehicle. Each of the 7
times was to bring documentation the DOAH had required McDuffie to
obtain, at each of the prior visits, in order for them to issue the “receipt to
redeem, ”

/12] McDquie also spoke with the Corporation Counsel and forwarded
to the Corporation Counsel all documentation pertaining to the initial
police impoundment of the Mustang; the administrative decision of City
non-suit,' copies of the documentation, including ajfidavits, that the
DOAH required McDuffie to bring to obtain the “receipt to redeem, ” as
well other documents and personal letter(s) sent by McDuffie.

[13] On April 25"', 2018, McDujj‘ie served the City with a demand for
the release of his Mustang. The City has never responded to the demand
letter.

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COUNTI

 

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VIOLATIUN 0F TITLE 42 UNITED STATES CODE
SE C T10N 1983
Violation of the 4'h Amendm ent Right Prohibiting
Unreasonable Searches and Seizures
Violation of Procedural and Substantive Due Process

[14] McDquie incorporates by reference paragraphs 1 through 13.

[15] Every person who under color of any statute, ordinance,
regulation, custom, or usage, of any State or Territory or the District of
Columbia, subjects, or causes to be subjected, any citizen of the United
States or other person within the jurisdiction thereof to the deprivation of
any rights, privileges, or immunities secured by the Constitution and laws,
shall be liable to the party injured in an action at law, Suit in equity, or
other proper proceedings for redress, except that in any action brought
against a judicial ojficer for an act or omission taken in such officer ’s
judicial capacity, injunctive relief shall not be granted unless a declaratory
decree was violated or declaratory relief was unavailable

[a] Municipalities and local governments are persons subject to suit for

damages and prospective relief. Monell v. Dept. of Social Services of New
York, 436 U.S. 658, 701 (1978).

[b] Section 1983 does not impose a state of mind requirement
independent of the underlying basis for liability, Parratt v. Taylor, 451 U.S.
527 (1981)overruled in part, Daniels v. Williams, 474 U.S. 327 (1986) but
there must be a casual connection between the defendant’s actions and the
harm that results. Mt. Healthy City School Dist. Bd. OfEduc. 15 Doyle,
429 U.S. 274, 285-8 7 (1977)

[c] In order to hold a local government liable under section 1983, the
Supreme Court has interpreted this causation element to require that the
harm be the result of action on the part of the government entity that
implemented or executed a policy statement, ordinance, regulation, or
decision officially adopted and promulgated by that body ’s officers, or the
result of the entity’s policy or custom.

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[d] Further, the entity’s policy or custom must have been the “moving

 

 

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force” behind the alleged deprivation. T his custom or policy requirement
is a dramatic departure from the rule of respondeat superior that prevails
in many common law actions.

[e] A local government is said to have an unconstitutional policy when
it fails to train its employees, and the failure to train amounts to deliberate
indifference to an obvious need for such training, and the failure to train
will likely result in the employee making a wrong decision. [City of Canton
v. Harris, 489 U.S. 378 (1989); Gold v. City of Miami, 1998 WL 54803 (11th
Cir.. 1998); Sewell v. Town of Lake Hamilton, 117 E3d 488 (11"'. Cir.

199 7).

[f] An unconstitutional policy may also exist if an isolated action of a
government employee is dictated by a “final policymaker, ” or if the
authorized policymaker approves a subordinate ’s decision and the basis
for it. [City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988) However,
merely going along with the discretionary decisions made by subordinates
is not a delegation to them of the authority to make policy.

[16] Where McDuffie states that he visited the DUAH at least 7 times
speaking and complaining to agents in the division that issues the “receipt
to redeem, ” and DOAH attorneys and representatives about their agents
refusing to issue the “receipt to redeem, ” even though the alleged
municipal code violation, 9-80-220Altered Tem Tag, that initiated the
impoundment was non-suited by the City; and that he presented to the City
of Chicago his complaint regarding DOAH’s refusal to issue the “receipt
to redeem, ” so that he could retrieve his vehicle from police
impoundment-these allegations satisfy and meet the essential elements of
establishing a prima facie case of an unconstitutional policy whose end is
to deprive McDuffie of his property [Mustang].

[1 7] Moreover, included among the DOAH agents McDuffie spoke with
were supervisors, DOAH attorneys, etc., who all claimed they could offer
him no advise except to file a complaint or grievance with the City which
McDquie did; the Corporation Counsel also stated that he could do
nothing to help McDuffie.

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[18/ T he section or division of DOAH that issues the “receipt to

 

 

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redeem, ” an impounded vehicle always has a extremely long line of at
least 70 or 80 people; and the wait time averages approximately two (2)
hours and is an exercise in torture. Almost, inevitably you will hear the
same complaints and routine responses:

“citizen: my car is impounded, the administrative body has non-suited
the reason for the impoundment, and I have with me the documents you
required me to bring, ”

“DOAH: these documents look fraudulent, questionable, does not
contain the information we are looking for, are false, etc. You need to
bring documentation of the last owner, etc.. ”

[19] McDuffie states that during the 7 or more times he visited the
DUAH there was always at least a 2 hour minimum wait before he could
even speak to a representative; and the repetitiveness of the DOAH agent’s
response to documents the agent had required McDuffie to bring, gave the
effect of a merry-go-round in the sense that DOAH requires you to obtain
documents that may have restricted access, and once you obtain the
requested documents the DOAH then employs one of the following
responses:

“T hese are not the documents we requested that you bring or the
documents look like a forgery, false, or otherwise illegal ”

“We need affidavitsfrom you and the previous owner or the affidavits
you have provided look fraudulent You need to get the affidavits done
again. ”

[20] Hence, the merry-go-round analogy simply shows that obtaining
the correct documentation can never be accomplished because like the
horse in front of you, you will be unable to reach it because it is always
ahead of you.

[21] T he point is that the legal separation of the city-non-suit from the
issue of whether to issue the “receipt to redeem, ” creates a bi-furcated
challenge whose objective is to create a policy and practice that
implements extremely difficult obstacles to the release of citizen ’s vehicle.

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[22] Based on observation and belief, McDuffie states that the

 

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preceding policy and practice allegations are condoned, and encouraged
by the Corporation Counsel and other upper-level City managerial staff
For example, McDuffie provided the Corporation Counsel with all
available documents regarding the continuing police impoundment of the
Mustang.

Examination of those documents provide no rationale for the
continuing impoundment of the Mustang. In other words, the sequence of
allegations of fact indicate that at least 7 times McDuffie has visited the
DOAH armed with documents previously requested by DOAH, and 7 times
the DUAH has declined to issue the “receipt to redeem ” because of some
of the previously delineated reasons.

[23] T he City’s continuing police impoundment of the Mustang, even
after McDuffie has obtained and presented the documents DOAH
required in order to issue the “receipt to redeem, ” violates the due process

clause ’s prohibition against deprivation of property absent due process
protections.

[24] T he City ’s continuing police impoundment of the Mustang, even
after McDuffie has obtained and presented the documents DOAH
required in order to issue the “receipt to redeem, ” violates McDujj'ie’s 4"'
Amendment to be free from “unreasonable” searches and seizures.

WHEREFORE, McDqu‘ie respectfully request $150,000. 00 in damages
for the violation of his 4th Amendment right to be free from unreasonable
searches and seizures and the substantive due process right prohibiting
the deprivation of property absent due process.

COUNTII
CUMMON LAW TURT OF CUNVERSION

[25]] McDuffie incorporates by reference paragraphs 1 through 13.

[26] T he elements of Common Law Conversion are:

 

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T he plaintiff ’s ownership or right to possession of the property;

[2 7] McDujfie states that the following named documents were
presented to DOAH and said documents satisjj) and met the above
required ownership or right to possession element of Conversion:

Affidavits by the previous owner and McDujfie ExhibitA
Certificate of Title of a Vehicle Exhibit B

2019 Illinois Registration Identification Card Exhibit C
April 5"', 2018 Findings, Decision & 0rder /DUAH] Exhibit D
McDuffie Letter to Secretary of State Exhibit E
dated April 12"', 2018

Secretary of State Information Request Form and Exhibit F
Fax Transmittal Sheet
Letter from Secretary of State dated April 19"', 2018 Exhibit G
And Title Information

T he defendant’s conversion by wrongful act inconsistent with the
property rights of the plaintiff; and Damages. Kasdan, Simonds, McIntyre,
Epstein & Martin v. World Sav. & Loan Ass’n (In re Emery) 317 F.3d
1064 (9'h Cir. Cal. 2003)

/28] McDuffie concedes that it is arguable, but not dispositive on the
issue of the initial impoundment, that the City, pursuant to the municipal
code, had the legal authority to enforce Section 9-80-220 Altered Temp
Tag. Notwithstanding the fact that whether the City’s initial seizure was
legal is a germane inquiry, the more substantive question or argument is
whether after the April 5"', 2018, city non-suit, DOAH had any legal
justification for maintaining dominion and control over McDuffie’s
personal property [2006 Mustang/ based on the aforementioned Section 9-
80-220 claim that was dismissed on April 5"', 2018,

A person not in lawful possession of a chattel (non real property) may
commit conversion by, among other things, refusing to surrender a chattel

on demand to a person entitled to lawful possession. Baram v. Farugia,
606 F.2d 42 (3d Cir. Pa. 1979).

 

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A conversion is usually proved in one of three ways:
By tortuous taking;

By any use or appropriation of the use of the person in possession,
indicating a claim of right in opposition to rights of the owner; or

Refusal to give up possession to the owner on demand. Litzinger v.
Estate of Litzinger (In re Litzinger), 340 B.R. 897 (B.A.R 8"' Cir. 2006)

Since April 5’h, 2018, the day of the administrative finding of city-non
suit, McDujfie has visited DOAH at least 7 times in an effort to obtain the
“receipt to redeem. ”ln addition, the numerous verbal and written requests
for the “receipt to redeem ” and DOAH’s continuing exercise of dominion
and control over the Mustang, in spite of the fact that McDuffie produced
every document DUAH agents requested, clearly satisfies and meets the
element of demand for return of the personal property.

PLAINTIFF DEMANDS A JUR Y TRIAL.

WHEREFORE, McDuffie respectfully request $150, 000. 00 in
damages.

Respectfully Submitted,

 

Daniel McDuffie

1139 West Vermont

Calum et Park, Illinois 6082 7
773/220/0 715

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sum y ..'~' TRAFFic sERvicEs ,,
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AUTO POUND: lNVENTORY NO:
PouND #2 2345010
POUND LOCAT|ON: MAKE OF VEHlCLE: A
10301 s. Doty Av. Ford gM/A,`+
POUND HOURS: DATE TOWED:
24 Hours MAR 03 2018 /~E
POUND PHONE NO: SR NUMBER:
(173) 568-8495 18-00853638

Owner Notification

Owner of Record

DAN|EL MCDUFF|E Vehicle ldentification: 1ZVFT80N665154281
9615 S BELL AVE Yr: 2006; Color: B|ack; Body Style: Sedan 2 Door
CH|CAGO, lL 60643-1626 Lic Plate No: ; State: ll|inois; Mo/Yr: 01/2018

Vou are hereby advised that a motor vehicle titled (or |eased) in your name was impounded by the City of Chicago on MAR 03 2018 under
authority granted by the Municipal Code of Chicago, section(s):

9-80-220 Altered Temp Tag

An impounded vehicle may be immediately released upon paymenth a $500.00 administrative penalty; ($1,000.00 if the impoundment
was for violation of 3-56-155, 8-4-130. 9-12-090, 9-80-220, or 9-80-240; not less than $150.00 and not more than $1500.00 if the
impoundment was for violation of 10-8-480(¢); not less than $500.00 and not more than $750.00 if impoundment was for violation of
section 9-76-145 or 9-32-040; $2,000.00 if the impoundment was for violation of section 7-24-225, 7-24-226, 8-8-060, or 8-20-070; not
less than $1,500.00 and not more than $3,000.00 if the impoundment was for violation of 9-80-225; $3,000.00 if the impoundment was
for violation of section 7-24-225. 7-24-226, 8-8-060, or 8-20-070 that took place within 500 feet of the boundary line of a public park or
elementary or secondary school) plus applicable towing and storage fees. The term "impounded vehicle" also includes a vehicle that was
determined to be subject to impoundment because of a code violation and that had a notice affixed to the window warning that the vehicle
is subject to impoundment, regardless of Whether the vehicle was actually towed to a city faci|ily. The owner (title holder or |essee) may
secure the release of the vehicle by paying the appropriate penalty and fees by cash, credit card, or certified/cashiers check in person at
the Central Hearing Facility, 400 W. Superior between the hours of 8:30am-4:30pm Monday through Friday and Saturdays 8:30am-3:30pm
(c|osed Sundays and legal holidays). The owner (title holder or lessee) can claim the vehicle at the pound location listed above by presenting
proof of ownership and a release order receipt. A lien holder (or lessor) may obtain possession of the impounded vehicle upon payment
of applicable towing and storage fees and submission of required documents Lien holders (or lessors) may obtain additional information
by calling (312) 742-6121.

PREL|M|NARY HEARlNG: The owner of record (title holder or |essee) of the impounded vehicle may request a preliminary impoundment
hearing to determine whether there is probable cause for continued impoundment. A request for preliminary hearing must be made Within
15 days of the impoundment at the Central Hearing Facility, 400 West Superior Street, between 9:00 am - 3:30 pm Monday through Friday
(c|osed Saturday, Sunday and legal holidays).

PLEASE TAKE NOTlCE that pursuant to the Municipal Code of Chicago, you may contest this charge by filing a written request for a
FULL HEARlNG before the Department of Administrative Hearings within fifteen (15) days of the date this notice was mailed. The enclosed
Request for Hearing form may be submitted by mail or in person to the Department of Administrative Hearings, 740 N. Sedgwicl<, 2nd
F|oor, Chicago, lL 60654. lf you have any questions please call (312) 742-6121.

The full hearing Will determine whether you are liable to the City of Chicago for an administrative penalty plus towing and storage fees.
You may be represented by counsel and may produce witnesses and introduce evidence on your behalf at the hearing

lf you fail to file a timely request for a full hearing or if you request a hearing but fail to appear at the scheduled hearing, a default finding
of liability will be entered against you in the amount of the administrative penalty plus towing and storage fees, if applicable lf you have
paid to redeem your vehicle and do not appear at a scheduled hearing, a default finding of liability will be entered in the amount paid to
redeem the vehicle. lf the administrative penalty and other fees are not paid in full Within ten (1 0) days after the expiration of the time
within whichjudicial review of the finding of liability may be sought, YOUR VEH|CLE MAY BE DEEMED UNCLA|MED AND THE VEH|CLE
AND lTS CONTENTS MAY BE DlSPOSED OF BY THE ClTY.

lf you are not the current owner of the vehicle because you sold, disposed of, or donated the vehicle, please call (312) 742-8422 for further
assistance

DEPUTY COMM|SS|ONER
BUREAU OF TRAFF|C SERV|CES
312-746-4954 (TDD: 312-744-2971)

 

 

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ClTY` OF c HlCAGO/DEPARTMENT O¢§'~*REETS AND SAN|TAT|ON Date: March 12, 2018
_ BURE_'\`U C'F TRAFF|C SERV|CES § 1

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AUTO POUND: lNVENTORY NO:

POUND #2 2845070

POUND LOCATlON: MAKE OF VEH|CLE:

10301 S. Doty Av. Ford

POUND HOURS: DATE TOWED:

24 Hours MAR 03 2018

POUND PHONE NO: SR NUMBER:

(773) 568-8495 18-00853638

Request for Hearing

Owner of Record
DAN|EL MCDUFF|E Vehicle ldentification: 1ZVFT80N665154281
9615 S BELL AVE Yr: 2006; Color: B|ack; Body Style: Sedan 2 Door

CH|CAGO, lL 60643-'| 626 Lic Plate No: ; State: lllinois; MO/Yr: 01/2018

Reason(s) for lmpoundment: 9-80-220 Altered Temp Tag

The undersigned owner of record (or lessee), pursuant to Section 2-14-132(J) of the Municipal Code of Chicago, hereby requests
a hearing to contest the impoundment of the above identified vehicle. The terms "impoundment" and "impounded vehicle" also
include a vehicle that was determined to be subject to impoundment because of code violation and that had a notice affixed to the
Window warning that the vehicle is subject to impoundment, regardless of whether the vehicle was actually towed to a city facility.
The term "owner" or "owner of record" includes the record title holder of the vehicle or lessee of the vehicle on the date of
impoundment.

|f you received an Owner Notification form and you are not the current owner of the vehicle because you so|d, disposed of, or
donated the vehicle, prior to impoundment or seizure, please fax documentation of vehicle transfer, along with a copy of this Notice
and signed Request for Hearing form to (312) 742-8248. Please call (312) 742-8422 for further assistance

PLEASE TAKE NOTlCE, ONLY THE OWNER OF RECORD (OR LESSEE) MAY REQUEST A HEARlNG.

A Request for Hearing must be filed by mail or in person (Monday through Friday, 9:00am to 4:00pm) with the Department of
Administrative Hearings, Municipal Hearing Divisions, Vehicle lmpoundment Section, 740 N. Sedgwick, 2nd F|oor, Chicago, illinois
60654 within fifteen (15) days of the date the owner notification was mailed by the City, An owner of record who files a timely
Request of Hearing form Will be notified of the hearing date and time by mail.

|f the owner of record requests a hearing but fails to appear at the hearing or fails to request a hearing within fifteen (15) days, the
owner of record shall be deemed to have waived his or her right to a hearing and a default finding of liability shall be entered. ll
you have already paid to redeem your vehicle and do not appear at a scheduled hearing, a default finding of liability will be entered
in the amount paid to redeem the vehicle. |f the vehicle remains impounded at the time of defau|t, the default judgment shall include
the amount of the administrative penalty prescribed for the violation, plus towing and storage fees, if applicable

Any vehicle that remains in the pound more than ten (10) days after the expiration of time during which the owner of record may
seekjudicia| review of a finding of liability under Section 2-14-132(J) of the Municipal Code of Chicago may be deemed unclaimed
and the vehicle and its contents may be disposed of by the City.

Date:

 

Owner of Record

DEPUTY COMM|SS|ONER
BUREAU OF TRAFF|C SERVlCES
312-746-4954 (TDD: 312-744-2971)

 

DOAZ 1 - Order

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r1/00_)

IN THE CITY OF CHICAG(), ILLINOIS
DEBARTMEN'I` OF ADMINISTRATIVE HEARINGS

 

c s
SKA/A/ f
Address ofViolation:
727 E 11 ith street C/

Docket #: 18VP003887

ClTY OF CHICAGO, a Municipal Corporation, Petitioner,

V.

Baker, Cheryl L.
14919 S EVERS
DOLTON, lL 604192601
and
McDuffie, Daniel
9615 S BELL AVE
CHICAGO, lL 60643

lssuing City
Department: Streets and Sanitation

, Respondents.

FlNDlNGS, DEClSIONS & ORDER

This matter coming for Hearing, notice given and the Administrative Body advised in the premises, having considered the
motions, evidence and arguments presented, IT lS ORDERED; As to the count(s), this tribunal finds by a preponderance of
the evidence and rules as follows:

 

Finding NO V# Counr(s) Municipal Code Violated Penalties
City non-suit 2845070 l 9-80-220 Altered Temp Tag $0.00
Sanction(s):

Storage Fee $0.00

Tow Fee $0.00

Vehicle shall not be released if held pursuant to any law, court order, warrant or police investigation that has not been released. If
there is no hold in effect, Respondent has 5 days from the date of this order to retrieve vehicle from the pound or additional
storage fees may accrue. However, once you have obtained your receipt to redeem your vehicle, you must redeem it on the same
date.

Admin Costs: $0.00

JUDCMENT TOTAL: $0.00
Balance Due: $0.00

ENTERED:_ _ 4 69 ,__ _ ,API 539 13 ,

'Administrative Law Judge ALO# Date

This Order may be appealed to the Circuit Court of Cook Co. (Daley Center 6th Fl.) within 35 days by filing a civil law suit
and by paying the appropriate State mandated filing fees.

Pursuant to Municipal Code Chapter 1-19, the city's collection costs and attorney's fees shall be added to the balance due if
the debt is not paid prior to being referred for collection.

18VP003887

Date Prinf€d! Apr 23, 2018 2:44 pm Page l of 1

 

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6th/a re

 

~ -_ ‘§ OFFICE oF THE SECRETARY oF STATE
‘ ‘ ¢ SPRlNGFlELD, lLLlNOlS 62756

 

JESSE WHITE
sECRETARY oF sTATE April 19, 2018

Danie| McDuffie
1139 W Vermont Avenue
Calumet Park, lL 60827

RE: State of illinois Title
To Whom lt May Concern:

This letter is regarding the 2006 Ford Mustang with vehicle identification number
1ZVFT80N6651 54281.

According to our records the 2006 Ford Mustang with vehicle identification number
1ZVFT80N665154281 is titled to Daniel McDuffie residing at 1139 W Vermont Ave
Calumet Park, |L 60827. lt was titled in the state of illinois on March 22, 2018. A copy of
the title file is enclosed.

The thce of the Secretary of State does not make the determination of your
responsibility for the violations or the amount owed for the violations. ‘

You will need to contact proper authority and provide them with a copy of this letter, as
well as, any additional information that you may have regarding this issue. They Will
make the final determination of your responsibility for the violations.

This letter may be presented to any jurisdiction or court of law as verification of the
records of the Offlce of the Secretary of State.

Shou|d you have additional questions, you may contact the Automation Technica|

support Division 31217-782-7614.
3 ¢Q__:>

Ernie Dannenberger, Director
Vehicle Services Department

ED/Sk

 

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VSEC bA ........

1139 W VERMONT AVE
REBUILT

NO DL
DOCUMENT' 8106086924 08473

CALUMET PARK
NO DL INFO

V DATE 03-07-18
ACT*DT 03-22~18
TS*l 1 TS-2 O
DATE OF RECEIPT

I

MACH ID
SERIAL
AUDITOR
03-05-201

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i.
|

 

TO VIEW REGISTRATION RECORD ENTER Y X

VIN! 12VF180N665154281 1 BLK/BLK
2006 FORD MUSTANG COUPE
DLR RA0513 GASOLINE

5§940 0847388940 6514200805 8002264898

PUR DTZ 03-05-118 USED MHSFZ
MILEAGE NOT REQUIR@
CURR #Z 18081692790 7 405 03_22-18
SURR #5 16354751002 ,1 IL 480 12_19~16
PREV #1 16327634117 1 REV 405 11"22~16
16123694339 5 IL 405 05_02*16
LEGAL AO
§3337690454 7 405 05~17~06

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APR 1 9 2013

 

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' 100 W Randolph$treet
Chicago, Illinois 60601

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To: JBE/U

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Secreiaw of Sfafe '~ Secretary of State`-\ \ _

Re¢°"d inquiry 5¢°“°“ |nformation Request Form Th's space f°' use by
501 s. second st., Rm. 408 Secretary of Stafe-
Springfield, IL 62756-8888 P|ease make sure you have signed, dated,

217-785-3000 entered a code, enclosed the proper fee

217-524-0122 lfax) and stated a reason for your request.

www.cyberdrivei|linois.com Mail completed form to the address at left.

 

Section 1: Business Name (if applicable] and/or Your Name and Mailing Address

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Daytirne Te|ephone Number Driver's License Number

 

Section l|: Requested Services (check appropriate boxes)

b@tle Search - $5 each _l Registration Search - $5 each .1 Certified Title ~ $10 each ‘_l Certified Registration ~ $iO each

The proper fee must be enclosed for each search. P|ease make check or money order payable to Sccretary of State. |f copies are required for
a court appearance the records l\/|UST be certified This form cannot be used to obtain a Dup|icate Tit|e. The Dup|icate Title fee is 395, and
an App|ication for Vehicle Transaction(sl [VSD 1901 must be completed in full. Visa. l\/lastercard, American Express and Discovcr credit cards
are accepted (processing fee applies]. P|ease complete the credit card payment information

Crcdit Card Number: Expiration Date:

 

 

Section |ll: Provide as much of the following information as possible to assist in processing your request. (|f the request pertains
to a Chicago Parking Vio|ation, submit a copy of the notice.)

Vehicle Year: 20&‘& Vehicle Make:_&&_ Title Number: V|N: z z MQ" EBLQQQZS ‘S‘~/Zéy'/

Plate Category: J Passenger _| B-trucl< _l Other(specify)

 

Owner Name and Address: (if known)

 

License Plate Number: P|ate Year(s):

 

 

 

Section |V: Complete the front and back of this form and indicate a code(s) below. (Both sides must be completed.)
l am requesting Secretary of State information based upon a permissible use(s) as provided for in the Driver Privacy Protection Act (18 U.S.C, sec. 2721 et seq.l

Code Letter(s]: Reason(s) for requesting the recordis) lrequired):

 

 

Section V: Affirmation of Requester

| affirm that any information provided by the illinois Secretary of State is allowable under provisions of the DPPA as indicated above. i
understand that using the information provided pursuant to this request for any use other than indicated on this document may be a
violation of state and federal law. l also understand that releasing personal information to unauthorized persons within or outside of the
organization may be a violation of state and federal law. | am also aware that the Federa| Driver Privacy Protection Act provides for civil and
criminal penalties for those convicted of violating this Act, which may result in fines of up to $10,000. This affirmation shall apply to each
and every record provided by the illinois Secretary of State. Obtaining personal information under false pretenses is a state and federal crime.

l agree to inform all authorized users of the provisions and protections of the DPPA, and of the penalties and fines for violations of the
same. Further, if there is a misuse of information or an information breach, l shall indemnify the Office of the Secretary of State and
will be responsible for a|| associated damage ` luding the costs of notifying the affected persons of the information breachl Under
penalties of peril ry, lswear that the info ation gi n is true and correct.

r"*"_\

 
     

  
 

 

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